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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  FORT PIERCE DIVISION

  HOWARD COHAN,

         Plaintiff,
                                                       CASE NO.: 2:21-cv-14340-AMC
  vs.


  RJ CORPORATION
  a Florida Profit Corporation
  d/b/a HOLIDAY INN EXPRESS

        Defendant(s).
  ____________________________________/
               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

         The Plaintiff, HOWARD COHAN and the Defendant, RJ CORPORATION, a Florida

  Profit Corporation, d/b/a HOLIDAY INN EXPRESS, (the Parties) hereby stipulate that (1) the

  Parties have settled this action; (2) Plaintiff voluntarily dismisses this action with prejudice

  against RJ CORPORATION, a Florida Profit Corporation, d/b/a HOLIDAY INN EXPRESS;

  and (3) the Parties shall bear their own costs and fees except as provided for in the Parties’

  Settlement Agreement.

         RESPECTFULLY SUBMITTED January 7, 2022.

  By: /s/ Gregory S. Sconzo                      By: /s/ Jason D. Byrd
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 7, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on counsel of record in this action via transmission of Notices of

  Electronic Filing generated by CM/ECF.

                                                    _ /s/ Gregory S. Sconzo
                                                    Gregory S. Sconzo, Esq.




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